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                                EXHIBIT 4
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                                                                        June 15, 2018

                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                              Case No: 17-cv-60426-UU



         ALEKSEJ GUBAREV, XBT HOLDINGS S.A.
         AND WEBZILLA, INC
                         Plaintiffs,

         vs.

         BUZZFEED, INC. AND BEN SMITH,
                          Defendants.




                      EXPERT REPORT OF DAVID P. KAPLAN


                          BERKELEY RESEARCH GROUP
                              1800 M STREET, N.W.
                            WASHINGTON, DC 20036
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   I.     QUALIFICATIONS

          1.      I am David P. Kaplan. I am an economist. I am an Executive Director and Vice

   Chairman of the Berkeley Research Group, or “BRG.” BRG is an economic and financial

   consulting firm with over 1,000 employees and offices both in and outside the United States.

          2.      I specialize in the analysis of how changes in various forms of business conduct

   affect industries, markets, individual firms, and individuals. In particular, I have analyzed claims

   for individual firm damages in a large number of matters, including those related to allegations

   of breach of contract, patent disputes, and claims related to trade secrets, by way of example. I

   have testified as an expert economist concerning the issue of claimed damages to an individual

   firm in a number of matters in both Federal and State Court. I also have submitted economic

   expert testimony concerning damage claims in both Federal and State Courts in class action

   matters involving issues of alleged violations of antitrust laws and breach of contract, by way of

   example.

          3.      I taught Business Statistics in the MBA program at Johns Hopkins University for

   some 10 years where I regularly lectured on the use of statistical methods to analyze individual

   firm performance such as data reflecting sales and profits. I also taught Economics at George

   Mason University for some 10 years where I regularly lectured on issues associated with how

   changes in certain behavior, such as implementing changes in prices, by way of example, could

   affect individual firms and markets. I also have served as a Guest Lecturer at Columbia

   University, the University of Utah, and the George Washington University School of Law.

          4.      I previously served as an executive of a public company where I would regularly

   be involved in analyzing issues associated with firm performance such as sales, costs, and



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   profitability and related issues concerning business valuations. In my current executive position,

   I also regularly analyze financial data (sales, profits, etc.) concerning firm performance.

           5.       I have served as an economic consultant to the Department of Justice, the Federal

   Trade Commission, and the Senate Judiciary Committee and have spoken before a number of

   organizations, such as the American Bar Association, including presentations concerning the

   issue of claimed damages. I also have published a number of articles and co-authored a book

   concerning economic issues.

           6.       I earned a B.A. and a Masters’ Degree in Economics from George Washington

   University. My current vitae is attached as Exhibit 1. My hourly rate is $750 an hour.1


   II.     ASSIGNMENT AND SUMMARY OF CONCLUSIONS

           7.       I was asked to consider two expert reports submitted by Jeff Anderson on

   February 23, 2018 (“Anderson First Report”) and on May 17, 2018 (“Anderson Second Report”)

   and supporting materials. In his reports, Mr. Anderson submitted estimates of claimed damages

   to XBT Holding S.A. and Webzilla (hereinafter collectively referred to as “XBT”)2 allegedly

   caused by the publication of the so-called “Dossier” by BuzzFeed on January 10, 2017 and eight

   so-called “Follow Up Articles” published by BuzzFeed in the five days following January 10,

   2017.3 (I will refer to the publication of the Dossier by BuzzFeed and the so-called “Follow Up

   Articles” hereinafter as BuzzFeed’s conduct at issue.) According to his first report, submitted in



   1
     I also earned a J.D. degree from George Washington School of Law but I do not practice law and I am offering no
   legal opinions in this matter.
   2
     “XBT” refers to XBT Holdings S.A. and all of its subsidiaries, as Mr. Anderson referred to XBT. (Anderson First
   Report, at p. 2.) This analysis does not purport to address whether, as a legal matter, XBT may recover any damages
   alleged to have been incurred by its subsidiaries.
   3
     Anderson Second Report, at pp. 4-7. See also Anderson Dep. Ex. 13. My discussions of BuzzFeed herein are
   intended to also refer to Ben Smith.

                                                           2
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   February, Mr. Anderson estimated that XBT’s lost business value (with business value defined

   as the “fair market value” a third party would pay to purchase XBT) allegedly caused by

   BuzzFeed’s conduct at issue ranged from a low of approximately $48.5 million to a high of

   $156.1 million and that BuzzFeed had enjoyed an “unjust enrichment” from the conduct at issue

   measured by Mr. Anderson at $14.0 million.4 In his second report, submitted on May 17, 2018,

   a few months later, the claimed lost business value claim advanced by Mr. Anderson had been

   reduced to a low of $32.3 million (a reduction of $16.3 million) and a high of $137.6 million (a

   reduction of $18.5 million) and he calculated an alleged “benefit” to BuzzFeed associated with

   the conduct at issue at roughly $13.9 million.5

            8.       Mr. Anderson’s estimate of XBT’s alleged lost business value involves a number

   of steps.6 First, he presented data reflecting XBT’s actual reported revenue for 2017 ($58.3

   million) and XBT’s actual EBITDA margin (earnings before interest, taxes, depreciation, and

   amortization) for 2016 of 42.0 percent.7 Second, based on an XBT November 2016 Business

   Plan (after an attempt to remove sales of one customer terminated by XBT in December 2016 for

   engaging in allegedly fraudulent behavior) Mr. Anderson determined that XBT forecasted 2017

   sales to be $62.8 million and forecasted that its EBITDA margin for 2017 would be 51.9

   percent.8 Next, Mr. Anderson took XBT’s 2017 forecasted sales ($62.8 million) and multiplied

   this figure by XBT’s actual 2016 EBITDA margin (42.0 percent) to arrive at XBT’s so-called




   4
     Anderson First Report, at pp. 1-4 and 13. See also Anderson Dep. Tr. at 58.
   5
     Anderson Second Report, at pp 1-4.
   6
     I address the issue of alleged lost business value because that is the measure of damages contained in Mr.
   Anderson’s report. This analysis does not purport to address whether lost business value is a legally permissible
   measure of damages in this case.
   7
     Id., at pp 7-12. The 2017 revenue figures used by Mr. Anderson are based on unaudited figures which could
   change. (Anderson Dep. Tr. at 70-71 and 73.)
   8
     Anderson Second Report, at pp. 7-12.

                                                             3
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   but-for EBITDA of $26.4 million for 2017.9 He also multiplied this same 2017 revenue estimate

   ($62.8 million) times XBT’s forecasted 2017 EBITDA margin (51.9 percent) to arrive at a

   higher-end estimate of XBT’s 2017 but-for EBITDA of $32.6 million.10 Mr. Anderson then

   calculated XBT’s so-called “as-is” 2017 EBITDA by taking reported actual 2017 XBT sales

   ($58.3 million) and multiplying this figure by XBT’s 2016 EBITDA margin of 42.0 percent to

   arrive at “as-is” XBT’s 2017 EBITDA of $24.5 million.11 Mr. Anderson then multiplied all three

   estimates of XBT’s 2017 EBITDA ($26.4 million, $32.6 million, and $24.5 million) by 17 based

   on what he advances as an average calculation of the “multiple” between EBITDA earned by six

   so-called “comparable” companies to XBT and their reported business valuation.12 These

   calculations, according to Mr. Anderson, generate an alleged but-for business value for XBT of

   $447.7 million when using XBT’s alleged but-for 2017 EBITDA using a 42.0 percent margin (17

   times $26.4 million) and $553.0 million using a 51.9 percent EBITDA margin (17 times $32.6

   million).13 These calculations, according to Mr. Anderson, assume the conduct at issue had not

   taken place and reflect the purported business value of XBT as of January 1, 2018.14 From these

   two figures, Mr. Anderson then subtracted what Mr. Anderson calculates as XBT’s purported as-

   is business value in as of January 1, 2018 of $415.4 million (17 times $24.5 million), or the

   purported business value of XBT taking into consideration the conduct at issue, to arrive at

   alleged XBT lost business value estimated to range between $32.3 million ($447.7 million minus

   $415.4 million) and $137.6 million ($553.0 minus $415.4).15


   9
     Id.
   10
      Id.
   11
      Id.
   12
      Id.
   13
      Id.
   14
      Id., at p. 2. See also Anderson Dep. Tr. at 59-60.
   15
      Anderson Second Report, at pp. 7-12. Mr. Anderson testified that he was not estimating any alleged damages, if
   any, suffered by Aleksej Gubarev. (Anderson Dep. Tr. at 10-11.)

                                                           4
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           9.       To calculate the alleged benefit to BuzzFeed associated with the conduct at issue,

   Mr. Anderson first calculates that the BuzzFeed articles at issue were “viewed” 8,988,432

   times.16 Mr. Anderson then sets out to calculate what it would have cost BuzzFeed to “generate

   an equivalent amount of traffic via a targeted digital marketing campaign.”17 To generate this

   estimate, Mr. Anderson relied on data published by a firm called Semrush and Mr. Anderson

   calculated that it would cost BuzzFeed $1.54 per “click” (or so-called cost per click or “CPC”) to

   generate the same amount of “traffic” to its website.18 He then calculated the alleged benefit to

   BuzzFeed associated with the conduct at issue as $13.9 million ($1.54 times 8,988,432).19

           10.      Based on my review of Mr. Anderson’s work product, his deposition, depositions

   of other individuals, documents produced in the litigation, and publicly available materials, in

   addition to my background and experience, I have reached the following conclusions (the

   materials I considered are identified in Exhibit 2):


                               Use Of Lost Business Valuation Methodology

                    a. Mr. Anderson’s use of a lost business value methodology is based on the
                       mistaken conclusion that claimed lost sales and profits necessarily result in a
                       diminution in business value. But business value is based on expectations of
                       future sales and profits and if any lost sales and profitability suffered by XBT
                       allegedly caused by the conduct at issue were only temporary in nature or
                       expected to be temporary, then Mr. Anderson has no reliable basis by which
                       to conclude that XBT necessarily suffered a diminution in business value
                       caused by the conduct at issue. Mr. Anderson has not established that if XBT
                       lost sales and profits during 2017 caused by the conduct at issue, that any such
                       loss was not temporary in nature or expected to be temporary in nature.

                    b. In fact, Mr. Anderson testified that his business value calculations were
                       conducted as of January 1, 2018 and his calculations could be different if he


   16
      Anderson Second Report, at pp. 13-15.
   17
      Id.
   18
      Id.
   19
      Id.

                                                       5
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                  chose a different date because business valuations change due to changes in
                  market conditions and he does not know what XBT’s business value is today.

               c. When considering possible sales lost by XBT allegedly caused by the conduct
                  at issue, it also should be noted that an XBT executive testified that if XBT
                  loses customers that newly created XBT server availability associated with
                  any such loss is then available to potential new customers. In fact, the same
                  XBT executive testified that XBT can “recover” from losing any particular
                  customer by deploying the newly available server capacity to other customers
                  within five or six months.

                                           Causation

               d. Mr. Anderson has not presented any reliable evidence that XBT actually lost
                  any sales attributed to the conduct at issue. He conducted no independent
                  investigation of this issue and could not identify a single lost customer
                  attributable to the conduct at issue.

               e. XBT’s monthly revenues may have been lower in the first part of 2017 than
                  they were in the latter part of 2016 for reasons unrelated to the conduct at
                  issue and Mr. Anderson has not conducted any independent analysis to
                  separate the impact of such factors from the alleged effect of the conduct at
                  issue.

               f. XBT’s monthly revenues may have been significantly affected during 2017
                  because it terminated a significant customer in December 2016 for engaging
                  in alleged fraudulent behavior while using XBT servers or what has been
                  identified as the MethBot fraud. Mr. Anderson testified that he did not know if
                  the particular customer terminated by XBT in December 2016 related to the
                  MethBot issue was the only customer involved in the so-called MethBot
                  conduct or, if as the result of the MethBot conduct, XBT changed its
                  procedures in such a way that may have diminished the number of new clients
                  it retained during 2017 (changes that XBT did, in fact, adopt according to an
                  XBT executive.) XBT’s revenues also may have been impacted by publicity
                  associated with its involvement in the so-called MethBot fraud.

               g. I understand that XBT also has sued Christopher Steele and Orbis Business
                  Intelligence for alleged “defamatory actions” and claimed in an Interrogatory
                  Response that XBT’s alleged lost sales during 2017 were attributable to both
                  the actions of BuzzFeed and those of Mr. Steele and Orbis Business
                  Intelligence. In an Interrogatory Response, XBT also represented that claimed
                  damages due to these allegedly lost 2017 sales had to be “apportioned”
                  between conduct by BuzzFeed and those by Mr. Steele and Orbis Business
                  Intelligence. Indeed, in this Interrogatory Response, plaintiffs claim that they
                  are not “seek[ing] to hold BuzzFeed responsible for damages it suffered as an


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                  account of the actions and omissions of Christopher Steele and Orbis Business
                  Intelligence.” Mr. Anderson has provided no such apportionment.

                         Reliance On XBT’s 2017 Revenue Forecast

               h. Mr. Anderson’s entire lost business value damage estimates, ranging from a
                  low of $32.3 million to the high of $137.6 million, are entirely predicated on
                  concluding that XBT’s forecasted 2017 revenue of $62.8 million is reliable
                  and higher than XBT actual 2017 revenue reported of $58.3 million. But Mr.
                  Anderson conducted no independent market analysis to test the reliability of
                  XBT’s 2017 revenue forecast.

               i. Mr. Anderson’s reliance on XBT’s 2017 forecasted revenue of $62.8 million
                  is misplaced because XBT overstated its forecasted revenue estimates by
                  many millions of dollars in prior years.

               j. Mr. Anderson’s reliance on XBT’s forecasted revenue also is unreliable
                  because of how the forecast was adjusted for XBT’s termination of a customer
                  involved in the so-called MethBot fraud. In November 2016, XBT originally
                  forecast its 2017 revenue to be $64.2 million. This estimate was subsequently
                  reduced by Mr. Anderson to $62.8 million (a reduction of roughly $1.4
                  million) because XBT terminated a significant customer in December 2016
                  for allegedly engaging in the so-called MethBot fraud. However, neither XBT
                  nor Mr. Anderson has presented any reliable evidence of how the loss of this
                  customer specifically may have adversely affected XBT’s forecasted sales
                  during 2017. Importantly, Mr. Anderson presented no independent analysis of
                  XBT’s performance in 2017 in any attempt to rigorously test how XBT’s sales
                  might have been affected during 2017 due to the loss of this customer.

               k. Mr. Anderson’s reliance on XBT’s 2017 forecasted revenues in his
                  calculations also is unreliable because XBT’s 2017 revenue projection was
                  based on the assumption that XBT sales, which were increasing in the latter
                  half of 2016, particularly beginning in September 2016 and continuing until
                  December 2016, according to an XBT executive’s testimony, would continue
                  throughout 2017. However, neither Mr. Anderson nor executives of XBT
                  could explain why XBT’s sales increased in September 2016 and never
                  presented any reliable economic evidence that whatever explained this
                  increase in sales was necessarily going to continue to cause XBT’s sales to
                  increase during 2017.

                          Reliance On XBT 2017 EBITDA Forecast

               l. Mr. Anderson’s reliance on XBT’s forecasted 2017 EBITDA margin of 51.9
                  percent in his calculations is equally unreliable. In prior years, XBT’s
                  estimates of its EBITDA margins were substantially overstated. Again, Mr.

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                  Anderson presented no independent investigation to test the reliability of
                  XBT’s estimated 2017 EBITDA margin.

               m. In this regard, it should be noted that XBT was forecasting that in 2017 its
                  revenue would increase by roughly $13.1 million (from $49.7 million in 2016
                  to $62.8 million in 2017) and its’ EBITDA by some $11.7 million (from $20.9
                  million in 2016 to $32.6 million in 2017). Mr. Anderson does not present any
                  independent basis that would allow one to reliably conclude that XBT could
                  convert some 89 cents for each dollar in forecasted increased revenue ($11.7
                  million divided by $13.1 million) into profits (measured by EBITDA) other
                  than being told by an XBT representative that such an achievement was
                  possible.

                                XBT Actual 2017 Performance

               n. Despite the conduct at issue, XBT’s sales increased substantially during 2017
                  compared to 2016 and prior years. During 2016, XBT’s sales, including the
                  customer terminated by XBT for engaging in alleged fraud, were $49.7
                  million and they increased to $58.3 million in 2017 (an increase of $8.6
                  million). If the customer engaged in the alleged fraud is removed from XBT’s
                  2016 sales, its sales increase in 2017 was $10.8 million ($58.3 million minus
                  $47.5 million) or more than any other yearly change in XBT’s nominal sales
                  from 2011 to 2016.

               o. In fact, XBT’s sales in each month during 2017 were higher than each
                  comparable month in 2016.

               p. This empirical evidence is inconsistent with any claim that XBT suffered the
                  diminution in business value advanced by Mr. Anderson. It also is
                  inconsistent with Mr. Anderson’s calculations that base a claimed loss of
                  business value ranging from $32.3 million to $137.6 million on a purported
                  loss of revenue by XBT in 2017 of $4.5 million.

                               Use Of Comparable Companies

               q. Mr. Anderson’s reliance on six specific companies to calculate his
                  “comparable” EBITDA multiple of 17 is not reliable. The companies selected
                  by Mr. Anderson were included in a study performed during 2013, some five
                  years ago. Mr. Anderson conducted no rigorous examination to establish that
                  these same companies were sufficiently comparable to XBT on January 1,
                  2018 to use in his multiple calculations.

               r. In a November 2016 Business Plan, in fact, XBT identified four firms as
                  direct competitors to XBT, only one of which (Rackspace) was consistent
                  with the six identified in 2013 (and Rackspace had a so-called multiple of
                  seven compared to the 17 used by Mr. Anderson in his calculations.)
                                               8
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                  Moreover, XBT executives did not identify any of these six companies as
                  competitive with XBT in their deposition testimony and specifically rejected
                  any number of the six as being competitors to XBT.

               s. Mr. Anderson also did not apply a discount to his calculated multiple due to
                  lack of “marketability” related to XBT because it is a private company as
                  opposed to a public company, a specific discount included in the same 2013
                  study relied on by Mr. Anderson.

                                 Alleged Benefit To BuzzFeed

               t. Mr. Anderson’s benefit analysis does not represent any calculation of
                  increased revenues or profits earned by BuzzFeed associated with the conduct
                  at issue, including any alleged increased benefit to BuzzFeed directly
                  attributable to the specific mention of XBT or Webzilla (or Mr. Gubarev) in
                  the Dossier.

               u. Mr. Anderson also testified at his deposition that his benefit calculations
                  assume that each relevant view included in his calculations included a specific
                  review of the Dossier, including a review of the content related to XBT.
                  However, Mr. Anderson did not present evidence that would support the
                  conclusion that these assumptions were true. When confronted at his
                  deposition with the possibility that these two assumptions were not true, Mr.
                  Anderson testified that if these two assumptions were not true he would have
                  to “reassess” his so-called benefit analysis and “adjust his analysis
                  accordingly.”

               v. Mr. Anderson then changed his testimony and explained that his calculation
                  includes so-called views “regardless” of whether the individuals “read all,
                  part, or none of the entire dossier.” In other words, Mr. Anderson is now
                  advancing a claim of a benefit to BuzzFeed even if no individual actually read
                  the Dossier itself, including any reference to XBT. In fact, Mr. Anderson’s
                  calculations of views can include individuals that reviewed the Dossier after
                  the plaintiffs’ names were removed by BuzzFeed in February 2017.

               w. Mr. Anderson’s calculation of views, according to his testimony, can also
                  include individuals that were already on the BuzzFeed website and Mr.
                  Anderson does not provide any reasonable explanation as to why BuzzFeed
                  would pay for an advertising campaign to drive individuals to visit its website
                  when those individuals were already on its website. Similarly, his calculation
                  of views can include individuals that were regular users of the BuzzFeed
                  website and Mr. Anderson again does not adequately explain why BuzzFeed
                  would pay such individuals to view its website.

               x. Mr. Anderson claims that his benefit analysis represents what it would cost
                  BuzzFeed to “generate an equivalent amount of traffic via a targeted digital

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                          marketing campaign.” However, the $1.54 used by Mr. Anderson in his
                          benefit calculation, as I understand his analysis, does not represent what
                          BuzzFeed pays to have individuals visit its website through the use of
                          advertisements that are generated on search engines like Google. Rather, it
                          represents (assuming the data are reliable) what other third parties paid search
                          engines like Google during January 2017 when an advertisement was
                          “clicked” on when a certain word (or so-called keyword) was searched by that
                          individual. (A figure that is then adjusted by Mr. Anderson by the amount of
                          “traffic driven” to BuzzFeed’s website for each of the relevant keywords.)

                      y. Mr. Anderson has not established, however, that what third parties pay for
                         such advertisements when certain keywords are searched (and the relevant
                         advertisement is clicked upon) is necessarily representative of what BuzzFeed
                         would pay to generate traffic to its website as part of any “targeted digital
                         marketing campaign.” In fact, as best I understand Mr. Anderson’s analysis,
                         the use of the keywords that are included in his calculation of the $1.54
                         generate traffic to the BuzzFeed website without BuzzFeed having to pay
                         anything to generate this traffic by use of any advertisement.

                      z. Mr. Anderson has simply not established that as part of any “targeted digital
                         marketing campaign” that BuzzFeed would pay $1.54 for an individual
                         “view.” Indeed, Mr. Anderson has not presented any reliable evidence that if
                         BuzzFeed wanted to increase traffic to its website it would adopt the type of
                         “digital marketing campaign” that is the focus of his benefit analysis.20



             11.      Below I discuss these issues in more detail. It should be noted that I reserve the

    right to modify or amend these opinions based on any new information that might become

    available to me.


    III.     ANDERSON’S CALCULATION OF ALLEGED XBT LOST BUSINESS VALUE IS
             UNRELIABLE

             12.      Mr. Anderson’s calculation of alleged XBT lost business value purportedly

    caused by the BuzzFeed conduct at issue is unreliable for the reasons discussed below.



    20
       It also should be noted that if BuzzFeed’s publication of the Dossier is legally permitted, then Mr. Anderson’s
    calculations are moot and irrelevant. Mr. Anderson’s calculations also would be moot and irrelevant if the
    statements concerning XBT in the Dossier were not false.

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             A.       Use Of Lost Business Value Methodology To Estimate Alleged XBT Damages
                      Is Misplaced And Inappropriate

             13.      Mr. Anderson claims in his report that “if not for the publication of the

    Defamatory Articles, XBT’s business value today likely would be substantially higher than

    where it currently stands.”21 (Here, Mr. Anderson is defining business value as what a third

    party would pay to buy XBT measured by the fair market value of the company.)22 To estimate

    this alleged diminution in business value, as discussed above, Mr. Anderson focuses on a

    claimed diminution in XBT’s performance measured in sales and profits (measured by EBITDA)

    during 2017 compared to forecasted levels of XBT performance for 2017. Mr. Anderson then

    multiplies the purported diminution by 17 (based on the relationship presented by Mr. Anderson

    between EBITDA and business value for six allegedly comparable companies to XBT) to arrive

    at claimed XBT lost business value damages measured by Mr. Anderson. The lost business

    value methodology advanced by Mr. Anderson that supports these estimates of alleged damages

    is misplaced and inappropriate here for a number of reasons.23

             14.      First, it is predicated on the unsupported assumption that XBT did not or could

    not recover any purported lost sales attributed to the conduct at issue during 2017 or thereafter.

    Mr. Anderson concludes that because XBT allegedly experienced a “decline” in “revenue and

    associated earnings” during 2017 purportedly as a result of the conduct at issue that XBT

    necessarily experienced “decline” in business value.24 But Mr. Anderson is wrong when he

    concludes that XBT necessarily suffered a decline in business value because it allegedly suffered




    21
       Anderson Second Report, at p. 7.
    22
       Anderson Dep. Tr. at 58.
    23
       It should be noted that it is not even obvious that Mr. Anderson actually decided to advance this theory of damage
    independently or whether it was suggested to him by counsel. (Id., at 61.)
    24
       Id., at 57-58.

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    a decline in performance during 2017 purportedly attributed to the conduct at issue, measured by

    Mr. Anderson as a decline in revenue and profitability. Business valuation is based on

    expectations of future sales and profitability. If XBT’s claimed lost sales and profits were only

    temporary in nature or expected to be temporary in nature, then Mr. Anderson has no reliable

    basis upon which to conclude that XBT would have necessarily suffered an actual diminution in

    business value associated with the conduct at issue. Mr. Anderson testified that his lost business

    value calculations, based on XBT’s claimed “shortfall” during 2017, only “assumes” that as of

    January 1, 2018 claimed diminished 2017 revenues have not been “made” up but he does not

    know (“I don’t know”) what is going to “happen” to XBT’s performance beyond the first day of

    2018.25

              15.    In this regard, it should be noted that a senior XBT executive (Mr. Mishra)

    testified that a lost XBT customer could be replaced within some five to six months.26 He

    testified that XBT can “recover” from the financial impact of lost customers by gaining new

    customers.27 Indeed, as discussed more below, Mr. Anderson, based on Mr. Mishra’s testimony,

    adjusted XBT’s forecasted 2017 sales downward for only a six month period for a customer

    terminated by XBT in December 2016 based on the premise that this customer would be

    replaced by other customers within no longer than six months.28 XBT also submitted an

    Interrogatory Response consistent with the conclusion that XBT’s monthly revenues beginning

    in August 2017 exceeded the highest 2016 monthly sales level established in December 2016.29


    25
       Id., at 78.
    26
       Mishra Dep. Tr. at 20 and 142-144.
    27
       Id., at 142-144.
    28
       Anderson Second Report, at pp. 10-11 and ft. 29.
    29
       Plaintiff XBT Holding S.A.’s Supplemental Responses To Defendants’ First Set Of Interrogatories, Response to
    Interrogatory Number 10 (“XBT Interrogatory Response”). It should be noted in this regard that the calculations
    included by XBT in this Interrogatory Response reflect over $300,000 in revenue in December 2016 for a customer
    terminated by XBT during this month for allegedly engaging in fraudulent behavior. (Mishra Dep. Tr. at 138-145;

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            16.      With respect to this issue, I also compared XBT’s reported 2017 actual monthly

    revenue figures (figures that could change because they are not audited figures according to Mr.

    Anderson)30 to the monthly revenue figures that are generated when XBT 2017 forecasted

    revenue figures used by Mr. Anderson in his lost business value calculations ($62.8 million) are

    divided by 12 to arrive at an implied average monthly revenue number for XBT during 2017.

    This calculation generates an average monthly sales figure of $5.2 million or $62.8 million

    divided by 12. As illustrated in Exhibit 3, by July 2017, using these figures, XBT’s reported

    actual monthly sales exceeded forecasted monthly sales.

            17.      In an attempt to reflect the difference between XBT’s reported actual 2017 sales

    (Anderson defines as “as-is revenues”) and those XBT revenues during 2017 that would have

    allegedly been generated but for the conduct at issue, Mr. Anderson presents his Figure 3.31

    (This is attached here as Exhibit 4.) As presented by Mr. Anderson, the purpose of this Figure is

    to illustrate that reported XBT actual 2017 revenues never “catch up” to so-called 2017 but-for

    revenues for each month of 2017 and it is at least implied that this difference continues beyond

    2017. This figure is highly misleading. As discussed above, XBT itself in an Interrogatory

    Response conceded that XBT’s actual revenues during 2017 exceeded December 2016 XBT

    revenues (even including in the calculation a customer terminated by XBT for participating in

    allegedly fraudulent behavior in December 2016) by August 2017. Moreover, as illustrated in

    Exhibit 3, and as discussed above, XBT’s reported actual 2017 monthly sales by July 2017

    exceeded the average monthly sales figure ($5.2 million) implied by the XBT forecasted 2017



    and Anderson Second Report Document Number 10.) If these sales were removed from XBT’s December 2016
    revenue figures, then XBT’s monthly sales in 2017 were higher than those in December 2016 by July 2017 not
    August according to data included in this Interrogatory Response.
    30
       Anderson Dep. Tr. at 70-71 and 73.
    31
       Anderson Second Report, at p. 9.

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    revenue ($62.8 million), a figure that serves as the foundation for Mr. Anderson’s lost business

    value calculations. To further illustrate this point, I redrew Mr. Anderson’s Figure 3 to reflect

    the figures represented in my Exhibit 3. This Figure is attached as Exhibit 5. Like Exhibit 3,

    these data reflect that XBT’s reported actual 2017 monthly sales exceeded the average monthly

    sales figure implied by XBT’s 2017 forecasted revenue by July 2017.

            18.      The unreliability of Mr. Anderson’s use of a claimed lost business valuation

    method to estimate claimed damages here also is illustrated by an additional point. Mr.

    Anderson represented that but for the conduct at issue XBT’s business value “today would be

    substantially higher than where it currently stands.”32 But at his deposition, Mr. Anderson

    admitted that this claim was not accurate. He testified that his estimation of XBT’s alleged lost

    business valuation was conducted as of January 1, 2018 because that was around the time he was

    retained in this matter.33 He admitted that he does not know what the business value of XBT is

    today (“I don’t know”) and if he had been retained on June 30, 2018 the XBT business valuation

    could be different than what he calculated as of January 1, 2018.34 In this regard, he also agreed

    that what a company might pay for a firm such as XBT can change over time based on

    developments in the interim.35 In other words, according to Mr. Anderson’s own testimony, one

    cannot be confident that XBT’s business value would be any different today but for the conduct

    at issue.

            19.      It also should be emphasized that, to the best of my knowledge, at no point has

    XBT attempted to sell the company to a third party subsequent to the publication of the Dossier



    32
       Id., at p. 7.
    33
       Anderson Dep. Tr. at 59-60.
    34
       Id.
    35
       Id.

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    (or create liquidity by any other mechanism). In other words, XBT did not actually suffer any

    diminished value measured by an actual diminution in funds paid for the company that can be

    attributed to the conduct at issue.

               20.     One final point with respect to this issue. Mr. Anderson’s estimates of alleged

    XBT lost business value, ranging from a low of $32.3 million to a high of $137.6 million, are, in

    the first instance, based on the claim that XBT’s reported actual sales in 2017 ($58.3 million)

    were less than XBT’s forecasted 2017 sales ($62.8 million) or a difference of $4.5 million.36 In

    other words, even before adjusting purported lost sales for any associated lost profit, Mr.

    Anderson’s lost business value methodology translates claimed lost sales of $4.5 million by XBT

    during 2017 to alleged damages ranging from $32.3 million to $137.6 million. These data are

    reflected in Exhibit 6.


               B.      Anderson Has Not Provided Any Reliable Evidence That XBT Lost Any
                       Actual Sales Caused By The Conduct At Issue

               21.     Mr. Anderson has not provided any reliable evidence that XBT lost any actual

    sales caused by the conduct at issue. In fact, he conducted no independent investigation of this

    issue beyond noting that XBT’s monthly sales were lower in the beginning of 2017 than they

    were at the end of 2016 and that the Dossier was published on January 10, 2017. Mr. Anderson

    testified that as part of his work he “assum[ed]” that publication of the Dossier was “the reason

    for the decline” in XBT’s performance in the first part of 2017 and when asked the basis for that

    assumption he testified it was based on “discussions with counsel, again the timing of the event,

    time of the release of the dossier and the subsequent decline in revenue and earnings” but he did




    36
         Anderson Second Report, at pp. 11-12.

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    not identify any other specific market factors that support his assumption.37 Mr. Anderson has

    simply not rigorously investigated the possibility that XBT’s monthly revenues may have been

    lower in the first part of 2017 as compared to the last part of 2016 due to factors unrelated to the

    conduct at issue or attempted to isolate any reduction in revenues attributed to the conduct at

    issue as opposed to other reasons. For example, he presents no specific analysis of XBT’s

    pricing policies or specific activities taken by XBT’s competitors that could have adversely

    affected XBT’s sales during the early months of 2017.

            22.      In this regard, it should be emphasized that Mr. Anderson, despite claiming in his

    report that the conduct at issue drove “away many” XBT customers, could not identify even one

    specific customer that XBT lost because of the conduct at issue. He testified:



                       Q. Okay. And again just to reiterate, you have not actually
                       drilled down to look at a single example of an individual
                       customer who allegedly cancelled or didn’t become a customer
                       as a result of the publication? Right?

                       A. I have not seen that.38



            23.      I also noted that certain XBT executives could not identify any specific customers

    lost by XBT caused by the conduct at issue. For example, Mr. Mishra, XBT’s Chief Financial

    Officer, could not identify any such customers.39 The current Chief Executive Officer of XBT,

    Mr. Dvas, also could not identify any specific customers lost due to the conduct at issue.40




    37
       Anderson Dep. Tr. at 131-133.
    38
       Id., at 20, 25, and 148-149; and Anderson Second Report, at pp. 6-7.
    39
       Mishra Dep. Tr. at 20 and 183-185.
    40
       Dvas Dep. Tr. at 21 and 300. See also Goederich Dep. Tr. at 245-246.

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    Aleksej Gubarev, former Chief Executive Officer of XBT, also did not identify any specific lost

    customer attributable to the conduct at issue as best I understand his testimony.41

            24.      Available evidence does establish that XBT’s sales may well have declined in

    2017 for reasons unrelated to the conduct at issue. On December 21, 2016 XBT discovered that

    one of its customers, Aleksander Zhukov, was allegedly engaged in what has been called the

    MethBot fraud (concerning advertising) after White Ops published a report concerning the

    alleged fraud and made available a list of IP addresses purportedly involved in the conduct. 42

    After being informed of this alleged conduct, XBT terminated this customer immediately

    according to XBT executives.43 (An article cited in an internal XBT email apparently described

    the MethBot fraud as “the biggest ad fraud ever.”)44 Mr. Gubarev testified, for example, that

    XBT “shut down” this customer “immediately” upon learning about its alleged participation in

    the fraudulent behavior in December 2016.45 The loss of this customer in December 2016, a loss

    unrelated to the conduct at issue, could have obviously caused XBT to lose revenues in 2017.

            25.      The possible loss of revenues attributable to this customer could have been

    substantial. According to one internal XBT email, it was projected that XBT could lose revenues

    in “the low millions of dollars” because this customer was terminated. 46 According to data

    produced by Mr. Anderson, revenues generated by XBT attributable to this customer were, in

    fact, $2.3 million during 2016.47 According to these same data, revenues generated by this


    41
       Gubarev Dep. Tr. at 27-28, 195-197 and 249. Mr. Gubarev did identify one customer (Propeller Ads) who
    apparently, according to Mr. Gubarev’s testimony, decided to “freeze” an “extension” with XBT subsequent to
    January 10, 2017 (Id., at 193-194.)
    42
       Gubarev Dep. Tr. at 173-175; “The Methbot Operation,” White Ops, December 20, 2016.
    43
       Mishra Dep. Tr. at 138-145; Gubarev Dep. Tr. at 173-175 and 188-192; and Bezruchenko Dep. Tr. at 89-90. See
    also Dvas Dep. Ex. 61.
    44
       Gubarev Dep. Tr. at 174-175; and Gubarev Dep. Ex. MB-1.
    45
       Id., at 173-175.
    46
       Id., at 188; and Dvas Dep. Tr. at 211. See also P-P001536-539; and P-P001530-531.
    47
       Anderson Second Report Document 10; and Anderson Second Report, at pp. 10-11 and ft. 29.

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    customer increased from $170,569 in October 2016 to $398,884 in November 2016 and for

    approximately the first 21 days in December 2016, XBT generated $311,752 in revenue from

    this customer (or a run rate for December of $460,205 if the average revenue per day attributable

    to this customer, $14,845, is extended for the entire month of December).48 Mr. Anderson

    testified that this one customer represented approximately seven percent of XBT’s total revenue

    in November 2016.49

            26.      The precise amount of XBT 2017 revenue possibly lost because this customer was

    terminated is not known. XBT executives testified that they actually do not know how much

    revenue XBT lost in 2017 because it terminated Mr. Zhukov. Mr. Mishra testified that he did not

    “know” how much money XBT lost as a result of terminating this customer in December 2016. 50

    Mr. Dvas, currently the Chief Executive Officer of XBT, also testified he did not know how

    much money XBT lost as a result of terminating Mr. Zhukov (“I don’t know”).51

            27.      In addition to the loss of this customer associated with the MethBot fraud, Mr.

    Anderson has not reliably established that XBT did not lose any other revenues because of its

    association with the alleged fraudulent behavior. Indeed, Mr. Anderson testified that he had “no

    idea” (“I don’t know”) if XBT lost other customers associated with the MethBot alleged fraud,



    48
       Id. The $14,845 revenue per day calculation is arrived at by dividing reported December 2016 revenue generated
    by XBT for this customer ($311,752) by 21 days. This figure is then multiplied by 31, the total number of days in
    December, to arrive at $460,205. If the customer was terminated on December 22, using this same methodology,
    the estimated December 2016 revenue generated by this customer would equal $439,287. These calculations
    assume that revenues earned by XBT associated with this customer could be attributed to the number of days that
    the customers made use of XBT servers during December 2016, that the customer would have continued to use the
    XBT servers for the remainder of December, and would pay for those days it did make use of the servers during
    December at the same daily rate as calculated before the customer was terminated.
    49
       Anderson Dep. Tr. at 122.
    50
       Mishra Dep. Tr. at 142-145.
    51
       Dvas Dep. Tr. at 21 and 211. In this regard, I noted that Mr. Anderson testified that he did not know what
    happened to the XBT servers during 2017 that were being used by Mr. Zhukov. (Anderson Dep. Tr. at 33, 46, and
    52.) Mr. Dvas testified that some of the XBT servers used by Mr. Zhukov were leased to other customers but some
    were not. (Dvas Dep. Tr. at 238-239. See also Mishra Dep. Tr. at 144-146.)

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    including whether other XBT customers, like Mr. Zhukov, were involved in the alleged

    fraudulent behavior.52

            28.      XBT also expressed concern that if XBT’s involvement with this alleged fraud

    became public it could harm XBT’s “reputation” and, as a result, possibly cause a loss of

    additional customers.53 Mr. Anderson testified, however, that the possibility of additional lost

    XBT customers associated with such adverse publicity was a “nonissue” because there were no

    “indications” or any “reports” available to the public that XBT servers (including servers

    operated by Webzilla and Servers.com) were associated with Mr. Zhukov and the alleged

    MethBot fraud.54 I am not aware, however, of any specific research Mr. Anderson undertook to

    reach this conclusion other than representing that XBT apparently did not ask its public relations

    firm to take any action associated with this issue.55 With respect to this issue, I did note that

    XBT did inform third parties of their association with the MethBot issue and Mr. Zhukov. In

    December 2016, they informed authors of the so-called White Ops Report, published on

    December 20, 2016, which itself disclosed the alleged MethBot fraud, that Webzilla was a

    “hosting provider” for Mr. Zhukov.56 XBT, through its public relations firm, also disclosed their

    involvement with Mr. Zhukov to Brian Krebs, a journalist who writes about “cyber-security.”57

    Mr. Anderson was apparently unaware that XBT shared its involvement with the MethBot fraud

    with Mr. Krebs.58 Mr. Gubarev testified that they made these disclosures to third parties in




    52
       Anderson Dep. Tr. at 122-124.
    53
       Gubarev Dep. Tr. at 179. See also Dvas Dep. Ex. 61.
    54
       Anderson Dep. Tr. at 34, 50, 53, and 113-114. Servers.com is also part of XBT. (Dvas Dep. Tr. at 237-239.)
    55
       Anderson Dep. Tr. at 34, 50, 53, and 113-114.
    56
       Dvas Dep. Tr. at 212-214; and Gubarev Dep. Tr. at 200-207. See also Dvas Dep. Ex. 62.
    57
       Dvas Dep. Tr. at 212-214; and Dvas Dep. Ex. 35.
    58
       Anderson Dep. Tr. at 53-54.

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    December 2016 because at least Webzilla’s involvement with Mr. Zhukov was “mentioned

    already” in one article and he was “100 percent this was [in] some publication.”59

            29.     I also noted in this regard that Mr. Dvas testified that the White Ops Report,

    published on December 20, 2016 and which discussed the alleged fraud at issue, identified

    certain IP addresses that were associated with Webzilla and Servers.com.60 The White Ops

    Report noted that a list of the IP addresses at issue in the alleged fraud were available for

    download from the White Ops website.61 As a means of countering the alleged fraud, White Ops

    encouraged “advertisers” and other “affected parties” to download and “block” the list of “IP

    addresses known to belong to Methbot” as the “fastest way to shut down the operation’s ability

    to monetize.”62 From the list of IP addresses available for download, it also may have been

    possible for third parties to draw an association between Webzilla and Servers.com and the

    alleged fraud. My research indicates that certain third parties may, in fact, have drawn such an

    association between Webzilla and Servers.com and the alleged fraud as evidenced by certain

    statements made in the comments section of an article published by Mr. Krebs discussing the

    alleged fraud that was posted on Mr. Kreb’s website.63 Other research also suggests that an

    association between IP address used by the alleged Methbot fraud and Webzilla and Servers.com

    was known by certain third parties as of January 11, 2017.64

            30.     XBT may have lost additional sales during 2017 associated with the MethBot

    issue because it changed the screening procedures it used when working with its customers. Mr.



    59
       Gubarev Dep. Tr. at 200-207.
    60
       Dvas Dep. Tr. at 186-189; and Dvas Dep. Ex. 62 at p. 7.
    61
       See “The Methbot Operation,” White Ops, December 20, 2016, at p. 3.
    62
       Id., at pp. 3 and 15.
    63
       See Brian Krebs, “Report: $3-5M in Ad Fraud Daily from ‘Methbot,’ Krebs on Security, December 20, 2016. See
    also Goederich Dep. Tr. at 157, 182, 197, and 218.
    64
       See, e.g., “Protest Trump Arizona- Planning Page,” Facebook.com, January 11, 2017.

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    Bezruchenko, an executive at XBT involved in overseeing issues related to technology, testified

    that because of the so-called MethBot fraud XBT adopted a new policy with respect to screening

    new customers.65 He explained that XBT began conducting “additional due diligence” to better

    understand the reasons why customers want to access XBT servers, or as Mr. Bezruchenko

    explained, XBT wanted to better understand the “reasons why the customer want[ed] to bring

    their IP space into our network.”66 Mr. Anderson was unaware of this change in XBT policy and

    did not know (“I don’t know”) if the change in policy caused XBT to lose any customers in

    2017.67

              31.    In his report and deposition testimony, Mr. Anderson did make reference to

    claimed changes in XBT’s access to bank financing following the publication of the Dossier.

    For example, Mr. Anderson represented that XBT “suffered increased bank scrutiny” following

    publication of the Dossier, that XBT “bank accounts in multiple countries were frozen and banks

    threat[ened] to close their accounts all together,” and that banks “dramatically increased their

    scrutiny on potential new clients.”68 Mr. Anderson admitted that his assertion as to the alleged

    increased scrutiny by banks was based upon representations by XBT and review of a single e-

    mail from a single lender.69 He expressed no knowledge of the actual outcome or impact of the

    alleged scrutiny.70 Mr. Anderson has not identified any specific customers that XBT actually



    65
       Bezruchenko Dep. Tr. at 23, 240-242. See also P-P001536-539.
    66
       Id., at 240-242.
    67
       Anderson Dep. Tr. at 130-131. Mr. Anderson also did not express any opinion (“I don’t know”) associated with
    the possibility that the lawsuit initiated by XBT in February 2017 may have caused XBT to lose sales. (Anderson
    Dep. Tr. at 150-156.) He did argue that the filing of the lawsuit may have actually mitigated any lost sales by
    helping XBT “dig” out from alleged adverse publicity associated with publication of the Dossier but he described
    such a scenario as “hypothetical” and he simply did not know what impact filing the lawsuit had on XBT’s sales.
    (Id.)
    68
       Anderson Second Report, at pp. 6-7; and Anderson Dep. Tr. at, for example, 19 and 140-148.
    69
       Anderson Second Report, at pp. 6-7 and fts. 15 and 16; Anderson Second Report Document Number 67; and
    Anderson Dep. Tr. at 134-148.
    70
       Anderson Dep. Tr. at 134-148.

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    lost in 2017 as a direct result of such claimed conduct or if any customers were lost, whether

    they were replaced by new customers using server capacity made available by any lost

    customers. As discussed above, Mr. Anderson has not identified any specific customer lost by

    XBT due to any such behavior.71 Mr. Mishra also was unable to identify any such specific

    customer, and nor were Mr. Dvas and Mr. Gubarev (as I understand his testimony). With respect

    to this issue, I also noted testimony by Mr. Mishra that indicated that any number of claimed

    disruptions to XBT’s relationship with lending institutions associated with the conduct at issue

    were temporary with various relationships restored within 15 days or a month after XBT filed the

    its lawsuit against BuzzFeed in February 2017.72

               32.     When examining XBT’s monthly sales data beginning in January 2014, I also

    discovered that in March 2015 XBT’s monthly sales hit a high of $3.5 million but then declined

    to $3.2 million in April 2015 and individual monthly XBT sales did not exceed $3.5 million until

    April 2016, over one year later. These data are reflected in Exhibit 7. This decline in sales was

    obviously not caused by the conduct at issue with the Dossier published on January 10, 2017. I

    did not find any analysis by Mr. Anderson that explains why XBT’s sales declined in April 2015

    from March 2015 and remained lower than the March 2015 high for so many months and if the

    reason or reasons for this sales pattern might also have adversely affected XBT’s sales in 2017.

               33.     When considering the issue of causation and potential lost sales, it also should be

    noted that XBT executives, including Mr. Mishra, as discussed above, the firm’s Chief Financial

    Officer, testified that if customers are lost the newly created XBT server availability associated

    with any such loss is then available to potential new customers. In fact, Mr. Mishra testified that



    71
         See Anderson Dep. Tr. at 148-149.
    72
         Mishra Dep. Tr. at 194-197.

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    XBT can “recover” from losing any particular customer by deploying the newly available server

    capacity within five or six months.73

            34.      Finally, Mr. Anderson did not know (“I have not . . . looked at that”) if, as a

    lawsuit filed by XBT against Christopher Steele apparently alleges, Mr. Steele may have caused

    XBT to lose sales.74 In this regard, I noted that XBT filed an Interrogatory Response specifically

    referring to the alleged loss of sales during the first several months of 2017 and represented that

    this alleged loss was associated with the “defamatory actions” of BuzzFeed “as well as

    Christopher Steele and Orbis Business Intelligence” and, as a result, the claimed damages needed

    to be “apportioned” between BuzzFeed, Christopher Steele, and Orbis Business Intelligence.75

    Indeed, in this same Interrogatory Response, plaintiffs claim not to “seek to hold BuzzFeed

    responsible for the damages it suffered as an account of the actions and omissions of Christopher

    Steele and Orbis Business Intelligence.”76 Mr. Anderson provides no such apportionment.

            C.       XBT’s 2017 Revenue Forecast Does Not Provide A Reliable Basis For
                     Anderson’s Calculations.

            35.      Mr. Anderson’s entire lost business value calculations are based on XBT’s 2017

    revenue forecast ($62.8 million) and the difference between this forecast and XBT’s reported

    actual 2017 revenues of $58.3 million (as yet an unaudited figure).77 If XBT’s forecast of its

    2017 revenue is not reliable, then all of Mr. Anderson’s lost business value calculations are not




    73
       Id., at 144. See also Dvas Dep. Tr. at 238-239; and Gubarev Dep. Tr. at 191.
    74
       Anderson Dep. Tr. at 65-66.
    75
       XBT Interrogatory Response, at Number 10.
    76
       Id. See also Peter Kafka, “After Being Sued, BuzzFeed Has Apologized To A Russian Executive Named In The
    Unverified Trump Dossier,” recode, February 3, 2017.
    77
       Anderson Dep. Tr. at 70-71 and 77. In this regard, I noted that the Chief Executive Officer of XBT, Mr. Dvas,
    testified that XBT’s actual revenues for 2017 were between $60 million and $70 million. (Dvas Dep. Tr. at 21 and
    296.)

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    reliable. XBT’s 2017 revenue forecast does not provide a reliable basis for Mr. Anderson’s

    calculation for a number of reasons.

             36.      First, Mr. Anderson testified that XBT’s previous forecasts of revenue, based on

    his conversations with Mr. Mishra, were “fairly conservative.”78 XBT’s previous forecasts,

    including those apparently not reviewed by Mr. Anderson, of future revenues have not always

    been reliable.79 For example, as set forth in Exhibit 8, in 2012 XBT forecasted its 2013 revenue

    to be $43.7 million but actual sales were only $32.8 million or an overstatement of some $10.9

    million. In 2012, XBT also forecasted 2014 revenues at $53.1 million but actual sales were only

    $36.2 million, an overstatement of $16.9 million, and in 2012 XBT forecasted 2015 revenues at

    $62.8 million but actual sales were only $38.8 million, an overstatement of $24.0 million.80

    Unlike all other years, as reflected in Exhibit 8, XBT’s estimate of 2016 revenue was relatively

    close to its actual 2016 revenue with a forecast that was actually lower than actual sales by $1.7

    million. On balance, taking all four years into consideration, 2013 through 2016, XBT has

    overstated its future revenue by an average of $12.5 million a year ($10.9 million plus $16.9

    million plus $24.1 million plus a minus $1.7 million divided by four.)81



    78
       Anderson Dep. Tr. at 85-86.
    79
       Id.
    80
       See also Mishra Dep. Tr. at 76-78, 82, and 94.
    81
       XBT’s forecasted 2013 revenues were based on a business plan generated by XBT in 2012. (Mishra Dep. Tr. at
    75-77.) Mr. Mishra described that business plan “as an accurate plan.” (Id.) This business plan overstated XBT’s
    2013 revenue by $10.9 million during 2012 as set out in Exhibit 8. This same business plan forecasted XBT
    revenues for 2014 and 2015 as reflected in Exhibit 8 and Anderson Second Report Document Number 54, at P-
    G000645 and 665-666. Mr. Mishra testified that XBT actually prepared estimates of forecasted revenue each
    individual year suggesting that XBT prepared a revenue forecast for 2014 during 2013 and for 2015 during 2014.
    (Mishra Dep. Tr. at 78-79, 88, and 112.) I have not been able to locate any specific XBT projections for 2014 and
    2015 beyond those included in the business plan developed by XBT during 2012. Mr. Anderson testified that he had
    not reviewed any such forecasts. (Anderson Dep. Tr. at 83, 90-91, and 99.) I reserve the right to review any
    additional information that becomes available reflecting XBT forecasts for 2014 and 2015. In this regard, I did note
    that in Mr. Anderson’s Document Number 60, there is a set of numbers for 2015 that are labeled “plan.” However, I
    do not have any information concerning what these figures represent or when they were prepared. According to Mr.
    Anderson’s deposition testimony, he did not appear to rely on these data. (Id.) If one were only to use the difference

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             37.      As discussed above, XBT’s forecasts of revenues for 2013, 2014, and 2015 that

    were prepared in 2012, were substantially overstated. Mr. Anderson did not dispute these

    findings.82 He argued, however, that given how close the XBT 2016 revenue forecast was to

    actual 2016 XBT revenue that he felt comfortable relying on the XBT 2017 revenue forecast in

    his calculations as “accurate and reasonable.”83 He also argued that, apparently based on his

    conversations with Mr. Mishra, that XBT’s projections of revenue were “constantly evolving,

    improving, getting better at predicting, estimating what is going to happen in the future” and, as

    a result, he did not believe that projections generated years ago were “relevant to what was

    happening in late 2016 when the 2017 projections were done.”84 Mr. Anderson also represented

    that XBT employs a “fairly rigorous standard” when they produce revenue projections.85

             38.      I do not agree with Mr. Anderson that the XBT revenue forecasts for 2013

    through 2015, that were generated by XBT in 2012, can be so easily discarded when considering

    the reliability of XBT’s forecast of 2017 revenue. These overstatements reflect a fundamental

    misunderstanding of XBT’s ability to generate revenue in the future. In considering the

    relevance of XBT’s revenue forecasts for 2013, 2014, and 2015, I also noted that these forecasts

    were included in the 2013 study relied on by Mr. Anderson when generating his so-called six

    comparable companies used to generate his multiple calculations.86 I also noted that Mr.

    Anderson did not conduct any independent study of various factors that could affect the




    between XBT’s forecasted revenues and actual revenues for 2013 and 2016, then XBT has overstated its future
    revenue by an average of $4.6 million ($10.9 million minus $1.7 million divided by two).
    82
       Anderson Dep. Tr. at 96-98. Mr. Anderson actually appeared to be unaware of these data at his deposition. (Id., at
    90-91.)
    83
       Id., at 83-84.
    84
       Id., at 98.
    85
       Id., at 82-83.
    86
       Anderson Second Report, at pp. 7-8; and Anderson Second Report Document Number 54 at P-G000645 and 665.

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    reliability of the 2017 forecasted revenues such as identifying which specific customers XBT

    might be able to attract during 2017 and XBT’s pricing policies.87

            39.      In considering the reliability of XBT’s 2017 revenue forecast, I also noted

    testimony by Mr. Mishra which, rather than reflecting some so-called “rigorous standard,” seems

    to suggest that XBT’s revenue forecast for 2017 was based, at least in part, on the fact that

    XBT’s monthly revenues were increasing in the latter half of 2016, beginning in particular

    during September 2016, and that he believed based on this trend that XBT would continue to

    grow the company in 2017.88

            40.      In considering the reliability of using these 2016 monthly sales data as a basis for

    projecting 2017 XBT revenue, I noted that XBT’s monthly 2016 revenue experienced its largest

    monthly increase in sales in September 2016, from $4.2 million to $5.1 million, and remained

    above $5 million per month for the remainder of 2016, a level not achieved in any prior month in

    2016.89 Mr. Mishra, however, could not provide any insight as to why XBT experienced this

    increase in sales beginning in September 2016 and could not remember if the monthly increase

    might reflect an anomaly that might not continue into the future. 90 He also admitted that to

    explain why XBT’s sales increased in September 2016 he would have to analyze the relevant

    underlying sales invoices but he had not conducted any such investigation, and that at the time of

    his deposition, he had no idea (“no”) why XBT’s sales increased in September 2016.91

            41.      Mr. Anderson also testified that XBT’s actual monthly revenue in 2016

    underperformed during the first six months of 2016 when compared to the 2016 forecasted


    87
       Anderson Dep. Tr. at 91.
    88
       Mishra Dep. Tr. at 159-164.
    89
       Anderson Second Report, at Exhibit 4.
    90
       Mishra Dep. Tr. at 163-164.
    91
       Id., at 154-156.

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    revenue (“yes, they were lower”) and agreed that XBT’s monthly revenue increased by some $1

    million in September and continued above $5 million per month for the remainder of the year.92

    Like Mr. Mishra, Mr. Anderson could not explain (“I don’t know the specific reason”) why

    XBT’s monthly sales increased in September 2016.93 To the extent that whatever caused XBT’s

    monthly sales to increase in the latter half of 2016 was not sustainable, then any forecast based

    on this trend would not be reliable.94 We, of course, know that one reason that XBT’s sales

    increased in November and December 2016 that was not sustainable into 2017 was sales to the

    customer that XBT terminated for allegedly participating in fraudulent behavior.

            42.      Mr. Anderson’s use of XBT’s 2017 forecasted revenue in his lost business value

    calculations also is unreliable because of the method employed by Mr. Anderson to adjust the

    original XBT projection ($64.2 million)95 in an attempt to take into consideration XBT’s

    decision to terminate the customer (Mr. Zhukov) allegedly engaged in fraudulent behavior in

    December 2016. To account for this termination, relying only on the testimony of Mr. Mishra

    and discussions Mr. Anderson had with Mr. Mishra that this customer could be replaced by XBT

    in no more than six months, Mr. Anderson calculated that Mr. Zhukov represented $1.4 million

    in XBT sales in the last six months of 2016 and Mr. Anderson subtracts this amount from the

    original XBT forecasted revenue of $64.2 million to arrive at a revised 2017 XBT forecasted

    revenue of $62.8 million.96 This calculation is unreliable for a number of reasons.

                             ¾ First, Mr. Mishra testified that he, in fact, did not know (“I don’t know”)
                               how much money XBT actually lost because this customer was


    92
       Anderson Dep. Tr. at 105-111.
    93
       Id.
    94
       With respect to this issue, Mr. Anderson testified that he had “no idea” if XBT’s sales increased in September
    2016 because certain aspects of the Dossier related to Mr. Cohen’s conduct were true. (Anderson Dep. Tr. at 111-
    113.)
    95
       Anderson First Report, at p. 10.
    96
       Anderson Second Report, at pp. 10-11 and ft. 29. See also Anderson Dep. Tr. at 28-30 and 42.

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                              terminated.97 He also testified that he was not aware if the servers used
                              by this customer had been transferred to other customers.98 Mr.
                              Anderson, after first claiming that the servers at issue were released to
                              other customers, also admitted that he did not know what happened to
                              the relevant servers.99 I noted with respect to this issue that Mr. Dvas,
                              the Chief Executive Officer of XBT, testified that only “some” of the
                              servers used by Mr. Zhukov were being used by other customers.100 If
                              not all of the relevant servers were put into use by other customers then
                              it is possible that XBT’s lost sales due to the termination of Mr. Zhukov
                              could exceed the six month estimate advanced by Mr. Mishra and relied
                              on by Mr. Anderson. I noted in this regard that XBT’s sales to Mr.
                              Zhukov were $2.3 million for all of 2016.101

                          ¾ Second, sales by XBT to Mr. Zhukov increased from $170,569 in
                            October 2016 to $398,884 in November 2016 and were $311,752
                            through approximately December 21, 2016 suggesting a run rate, as
                            discussed above, of sales by XBT to Mr. Zhukov of over $450,000 for
                            the entire month of December 2016.102 Mr. Anderson’s decision to add
                            up XBT’s sales to Mr. Zhukov for the last six months of 2016 and use
                            this summation in his calculations does not properly account for this
                            sales trend. (In this regard, I noted that Mr. Anderson testified that he
                            did not know why XBT’s sales to Mr. Zhukov “jumped” in November
                            and December 2016.)103 For example, if one used the November sales
                            number of almost $400,000 to predict XBT’s sales to Mr. Zhukov
                            during 2017 and still assumed that XBT could replace Mr. Zhukov’s
                            sales with other customers in six months, the adjustment to XBT’s 2017
                            forecasted sales would be some $2.4 million (six times $398,884) not
                            the $1.4 million used by Mr. Anderson in his calculations. If 12 months
                            were used this number would climb to $4.8 million (12 times $398,884).
                            If the estimated monthly sales for December discussed above were used
                            for this calculation, the resulting figures for six months would be $2.8
                            million (six times $460,205) and $5.5 million for 12 months (12 times
                            $460,205).

                          ¾ Third, XBT’s forecasted sales for 2017, before any adjustment for sales
                            to Mr. Zhukov, increased by 29.2 percent from actual 2016 sales ($64.2
                            million minus $49.7 million divided by $49.7 million).104 Yet when
                            forecasting sales that XBT would lose during 2017 after terminating Mr.

    97
       Mishra Dep. Tr. at 144-145
    98
       Id.
    99
       Anderson Dep. Tr. at 30-33 and 46.
    100
        Dvas Dep. Tr. at 238-239.
    101
        Anderson Second Report at Document Number 10.
    102
        Id.
    103
        Anderson Dep. Tr. at 39-40.
    104
        Anderson First Report, at p. 10.

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                               Zhukov in December 2016, Mr. Anderson takes XBT’s sales to Mr.
                               Zhukov for the last six months of 2016 and assumes no growth in these
                               sales for the first six months of 2017.105 If these sales were increased by
                               a rate of 29.2 percent, then the resulting increase in projected sales by
                               XBT to Mr. Zhukov during 2017 would be $1.6 million even if one
                               assumed that XBT could replace Mr. Zhukov’s sales with new sales
                               within six months ($1.2 million times 1.292).

            43.     In support of his decision to rely on the XBT’s forecast for 2017 revenue in his

    lost business value calculations, Mr. Anderson also pointed to a study that indicated that the

    industry in which XBT competed within was expected to grow by 45.9 percent a year beginning

    in 2016 and continuing through 2020.106 When advancing these data, however, Mr. Anderson

    fails to provide any evidence that XBT’s prior performance reflected overall industry growth. In

    fact, Mr. Anderson testified that he did not know how much the industry grew in the previous

    five years or how much XBT grew in these same five years, although he testified that XBT grew

    at a slower rate than the industry.107


            D.      XBT’s 2017 EBITDA Forecast Does Not Provide A Reliable Basis For
                    Anderson’s Calculations

            44.     Mr. Anderson’s low end estimate and high end estimate of XBT’s alleged lost

    business value both make use of the difference between XBT’s forecasted 2017 revenue ($62.8

    million) and reported 2017 XBT actual revenue of $58.3 million. However, Mr. Anderson’s lost

    business calculations make use of XBT’s actual 2016 EBITDA margin of 42.0 percent when

    generating his low end estimate of alleged lost business value ($32.3 million).108 His high end

    estimate ($137.6 million) makes use of XBT’s projected 2017 EBITDA margin of 51.9




    105
        Anderson Second Report, at pp. 10-11 and ft. 29.
    106
        Anderson Dep. Tr. at 87-90. See also Anderson Second Report Document Number 56, at p. 5.
    107
        Anderson Dep. Tr. at 87-90.
    108
        Anderson Second Report, at pp. 11-12.

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    percent.109 XBT’s projected 2017 EBITDA margin of 51.9 percent does not provide a reliable

    basis for Mr. Anderson’s calculations.

             45.      As with its revenue estimates, XBT’s previous forecasts of EBITDA, with the

    exception of 2016, have proved to be substantially overstated. As reflected in Exhibit 9, during

    2012 XBT forecasted 2013 EBITDA to be $18.8 million but it was actually only $12.0 million,

    an overstatement of $6.8 million. In 2014, based on forecasts generated by XBT in 2012, XBT’s

    forecast of EBITDA was overstated by $13.0 million and by $15.9 million in 2015. In 2016,

    XBT’s forecasted EBITDA was $19.8 million and its actual EBITDA was $20.9 million.110 On

    average, over the years 2013 through 2016, XBT overstated its EBITDA by $8.6 million per year

    ($6.8 million plus $13.0 million plus $15.9 million minus $1.1 million divided by four).111

    When considering the reliability of XBT’s forecasted 2017 EBITDA margin it also should be

    noted that we do not presently know what XBT’s actual EBITDA margin was in 2017.112

             46.      Mr. Anderson did not conduct any independent research to verify the reliability of

    XBT’s forecasted EBITDA margin of 51.9 percent. According to Mr. Anderson, XBT’s forecast

    51.9 margin was based on an alleged plan by XBT for a business model based on “owned

    physical storage” as opposed to leasing servers and that this “transition would have continued to

    increase XBT’s profitability.”113 Mr. Anderson does not, however, provide any evidence other

    than his conversation with Mr. Mishra to support the conclusion that the conduct at issue



    109
        Id.
    110
        See, generally, Mishra Dep. Tr. at 94, 167-169, and 173-175; and Anderson Dep. Tr. at 96-97.
    111
        If XBT’s forecast of EBITDA compared to actual EBITDA is only used for 2013 and 2016, XBT’s average
    yearly overstatement of EBITDA would equal $2.8 million ($6.8 million minus $1.1 million divided by two). As
    reflected in Exhibit 10, I did note that XBT did overstate its forecast of XBT’s profit before tax for every year, 2013
    through 2016, including a significant overstatement in 2016. (See Anderson Dep. Tr. at 94-95; and Mishra Dep. Tr.
    at 148 and 150-151.)
    112
        Anderson Dep. Tr. at 70. See also Dvas Dep. Tr. at 298.
    113
        Anderson Second Report, at p. 11; and Anderson Dep. Tr. at 102-104.

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    somehow prevented XBT from making this allegedly planned transition during 2017. (In this

    regard, it should be noted again that XBT’s actual 2017 EBITDA margin is not presently

    available.) Mr. Anderson testified that other than a conversation with Mr. Mishra he had no

    other basis to justify his use of the 51.9 percent in his calculations.114

            47.      In investigating the reliability of XBT’s forecasted 2017 51.9 percent EBITDA

    margin, I noted that XBT was forecasting revenue to increase from $49.7 million in 2016 to

    $62.8 million in 2017, or an increase of $13.1 million, and its EBITDA over the same two years

    was forecasted to increase by $11.7 million from $20.9 million in 2016 to a forecasted amount of

    $32.6 million in 2017.115 These forecasts indicate that during 2017 XBT was going to generate,

    as measured by EBITDA, 89 cents of profit ($11.7 million divided by $13.1 million) for every

    dollar of increased revenue. Other than a conversation with Mr. Mishra, Mr. Anderson refers to

    no other evidence to support such a level of performance.116

            E.       XBT’s Actual Performance During 2017 Is Inconsistent With The Damage
                     Analysis Advanced By Anderson

            48.      Based on available data, including unaudited XBT 2017 revenue data, XBT’s

    actual performance during 2017 is not consistent with the damage analysis advanced by Mr.

    Anderson. For example, despite the alleged conduct at issue, as set forth in Exhibit 11, XBT’s

    revenues increased from $49.7 million to $58.3 million from 2016 to 2017, an increase of $8.5

    million or an increase of 17.2 percent. Mr. Anderson agreed that XBT’s revenues increased by

    approximately $8.5 million between 2016 and 2017.117 This increase in yearly revenue is greater

    than every yearly change in XBT’s revenue from 2011 to 2016 except for the change from 2015


    114
        Anderson Dep. Tr. at 85, 91, 102-104, and 148-149.
    115
        Anderson Second Report, at pp. 10-11.
    116
        Anderson Dep. Tr. at 102-104.
    117
        Id., at 168-169.

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    to 2016 ($10.9 million). In fact, XBT’s increase in revenue during 2017 ($8.5 million) is greater

    than XBT’s total increase in revenue from 2011 ($32.3 million) to 2015 ($38.8 million) or $6.4

    million over these four years.118 These data are reflected in Exhibit 11.

            49.      If one were to remove XBT’s sales to Mr. Zhukov during 2016, then XBT’s

    revenue increases from $47.5 million in 2016 to $58.3 million in 2017 or an increase of $10.7

    million (or 22.6 percent). These data are set forth in Exhibit 12. In fact, as set forth in Exhibit

    13, using these same data, data that removes XBT’s sales to Mr. Zhukov for both 2015 and 2016,

    XBT’s revenue increased in nominal terms more during 2017 ($10.7 million) than in any other

    single year between 2011 and 2016, including between 2015 and 2016. On a percentage basis,

    as set forth in Exhibit 14, using these same data, XBT’s revenue increase during 2017 was

    greater than in all years 2011 through 2015 and close to the percentage change from 2015 to

    2016. Using these same data, I also calculated XBT’s average annual change in revenue for the

    years 2011 through 2016 and compared it to the change from 2016 to 2017. I found that on

    average XBT increased yearly revenue between 2011 and 2016 by $3.0 million per year

    compared to a $10.7 million increase from 2016 to 2017. These data are included in Exhibit 15.

            50.      I also compared XBT monthly revenue during 2017 to that generated by XBT in

    2016. I discovered, as set forth in Exhibit 16, that in every single month, XBTs monthly

    revenue was higher during 2017 when compared to 2016. I found this pattern both when

    including XBT’s sales to Mr. Zhukov and when these sales are excluded from XBT’s monthly

    revenue. These data also are included in Exhibit 16.




    118
      Mr. Dvas, the current Chief Executive Officer of XBT, testified that XBT apparently added a large customer
    (Multiplay) during 2017. (Dvas Dep. Tr. at 31.)

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            51.      Based on data generated by Mr. Anderson, I also compared certain other financial

    data reflecting XBT’s performance during 2017 compared to 2016. These data are included in

    Exhibit 17. For example, not only did XBT’s revenue increase between 2016 and 2017, but its

    profitability also increased based on data advanced by Mr. Anderson. In particular, XBT’s profit

    before and after tax increased between 2016 and 2017.

            F.       Anderson’s Comparable Company Calculation Is Not Reliable

            52.      As discussed above, Mr. Anderson’s lost business value calculations also are

    based on data he presented purportedly representing the relationship between EBITDA and

    business value for six companies (Akamai, Dupont, Equinix, InterXion, iomart, and Rackspace)

    that he defines as “comparable” to XBT.119 Specifically, he reports this calculated relationship

    for each company based on data sourced to Capital IQ and then averages all six reported

    multiples to arrive at a multiple of 17, a multiple that he then employs in his lost business value

    calculations by multiplying it by his two estimated but-for EBITDA figures for XBT in 2017 and

    comparing the results to the so-called “as-is” EBITDA figure for XBT for 2017.120 The

    difference in these calculations represent his estimates of lost business value allegedly caused by

    the conduct at issue. In addition to the methodological issues discussed above, Mr. Anderson’s

    use of data for these six companies for his stated purpose is not reliable.

            53.      In justifying his decision to use data from these six companies, Mr. Anderson

    claims that these six companies are “comparable” to XBT.121 However, the study relied on by

    Mr. Anderson to justify his conclusion (prepared by KPMG) was conducted in 2013, some five




    119
        Anderson Second Report, at pp. 7-12.
    120
        Id.; and Anderson Dep. Tr. at 75.
    121
        Anderson Second Report, at pp. 7-12

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    years ago.122 Mr. Anderson has not presented any reliable basis that would support the

    conclusion that these same six companies would still be considered comparable to XBT today,

    some five years later. When justifying his decision to use these same six companies in his

    calculations, Mr. Anderson testified that he “looked at” what these companies “do,” although he

    provided no description of this purported analysis in his reports.123 I noted in this regard, that

    Mr. Anderson testified that “something done four or five years ago, it absolutely does not seem

    relevant to what was happening in late 2016.”124

            54.     Mr. Anderson did claim in his Second Report that these same six companies “are

    similar to XBT’s identified competition” and referenced XBT’s Business Plan prepared in

    November 2016 in support of this claim.125 However, this Business Plan, the same plan relied on

    by Mr. Anderson for XBT’s forecasted 2017 revenues and EBITDA, identifies four companies

    as “direct competitors” to XBT, and only one of the four (Rackspace) is included in the six used

    by Mr. Anderson in his calculations (and Rackspace has the lowest multiple, seven, of the six

    used by Mr. Anderson in his calculations).126 The other three firms (SoftLayer, Leaseweb, and

    OVH) are not included in the analysis advanced by Mr. Anderson and, instead, he continues to

    use data in his calculations for five companies not identified as “direct competitors” by XBT in

    November 2016.127

            55.     In consideration of this issue, I also noted Mr. Mishra’ deposition testimony

    where he represented that the four firms identified in the XBT November 2016 Business Plan are



    122
        Anderson Second Report, at pp 7-8; and Anderson Second Report Document Number 54.
    123
        Anderson Dep. Tr. at 157-158.
    124
        Id., at 98.
    125
        Anderson Second Report, at p. 10, ft. 25; and Anderson Second Report Document Number 63.
    126
        Anderson Second Report, at p. 10; and Anderson Second Report Document Number 63 at P-G001035 and 1050.
    127
        See Anderson Second Report Document Number 63, at P-G001035 and 1050. See also Anderson Second
    Report, at p. 10.

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    still (“I think so”) direct competitors to XBT.128 Mr. Mishra also described one of the six

    companies used by Mr. Anderson in his analysis, Dupont Fabros, as “more or less” being in the

    “real estate business” and that XBT is not in “real estate.”129 I also noted that another XBT

    executive, Mr. Bezruchenko, did not identify any of the six companies relied on by Mr.

    Anderson in his multiple analysis and specifically testified that one of the six, Akamai, was not a

    competitor to XBT and that Rackspace, another of the six, was not a competitor “today.”130

             56.      When reviewing the 2013 study relied on by Mr. Anderson when selecting the six

    companies he used in his analysis of allegedly “comparable” multiples, I noted that the authors

    of the study, KPMG, concluded that the multiples for the six companies analyzed should be

    discounted by 20 percent to 30 percent when compared to XBT because XBT was a private

    company and did not have shares traded in a public exchange (a so-called lack of marketability

    discount).131 Mr. Anderson did not employ such a discount in his analysis.132

             57.      Mr. Anderson argued such a discount was not necessary because he found that

    one of the four companies identified by XBT as a direct competitor in 2016, SoftLayer, was

    purchased by IBM in 2013 at a multiple of 11.1 (when comparing EBITDA to business value)

    which was close to the EBITDA to business value multiple included in the 2013 KPMG study of



    128
        Mishra Dep. Tr. at 177.
    129
        Id., at 177-178. Mr. Anderson also testified that Dupont Fabros was involved in the real estate business, although
    he believed that their “REIT” did involve servers. (Anderson Dep. Tr. at 158-159.) In this regard, I noted that the
    Capital IQ source relied on by Mr. Anderson described Dupont Fabros as a “real estate investment trust (REIT).”
    (S&P Capital IQ, “Dupont Fabros Technology, Inc.,” May 18, 2018, at p. 1.) Equinix, another of the six companies
    relied by Mr. Anderson in his multiple calculation, also is reported to be a REIT. (S&P Capital IQ, “Equinix Inc.,”
    May 18, 2018, at p. 1.) and another of his six companies, InterXion, is described as also being involved in the “real
    estate management/holding” business. (S&P Capital IQ, “InterXion Holding N.V.,” May 18, 2018, at p. 1.) I noted
    that these three companies have the highest multiples in Mr. Anderson’s analysis (all above 20). (Anderson Second
    Report, at p. 10.)
    130
        Bezruchenko Dep. Tr. at 54.
    131
        Anderson Second Report, at pp 7-8; and Anderson Second Report Document Number 54, at P-G000645, 654,
    and 683.
    132
        Anderson Dep. Tr. at 160-166.

                                                             35
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    10.99.133 (Mr. Anderson’s use of a multiple of 17 is based on using updated data for the six

    companies included in the 2013 KPMG study.)134 According to Mr. Anderson, because the

    reported 2013 multiple for SoftLayer, a private company at the time, was close to that generated

    by KPMG for the six other companies in 2013, he did not need to discount the multiples he

    calculated for six companies using more recent data when arriving at the multiple he used in his

    lost business value calculations for XBT.135

            58.      In my opinion, the SoftLayer data point is by itself insufficient to reject applying

    a lack of marketability discount to the multiples Mr. Anderson calculated for the six companies

    when being used to generate a multiple for XBT for a number of reasons. First, the SoftLayer

    example is just one data point and Mr. Anderson has not presented any reliable evidence that this

    one transaction five years ago necessarily reflects a representative discount when comparing

    private to public companies. In this regard, just by way of example, I found information that

    reported that another of the four companies identified as direct competitors to XBT in 2016,

    OVH, was valued at an EBITDA to business value of six in 2016.136 Six is obviously much less

    than the 17 used by Mr. Anderson in his calculations. I highlight this additional data point to

    reflect that Mr. Anderson’s decision to use the one example concerning SoftLayer is not

    necessarily reliable when attempting to determine what if any discount should be applied to Mr.

    Anderson’s multiple calculation for XBT related to a lack of marketability.137 Second, I am not

    aware that Mr. Anderson has offered any evidence reflecting the factors that may have affected



    133
        Id.
    134
        Anderson Second Report, at p. 10 and Exhibit 10.
    135
        Anderson Dep. Tr. at 160-168.
    136
        “OVH EUR 250.Omn Late Stage,” August 2016.
    137
        In this regard, based on a document produced by Mr. Anderson, I noted that Rackspace apparently was purchased
    in August, 2016 at a multiple of 6.1 which is less than the seven used by Mr. Anderson in his analysis for
    Rackspace. (Anderson Second Report, at p. 10; and Anderson Second Report Document Number 61, at p. 103.)

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    the price that IBM paid for SoftLayer in 2013 and how these factors might be same or different

    when attempting to value XBT on January 1, 2018.


    IV.     ANDERSON’S SO-CALLED BENEFIT ANALYSIS IS UNRELABLE

            59.      Mr. Anderson calculates that because of the conduct at issue BuzzFeed enjoyed a

    benefit.138 To calculate this claimed benefit, Mr. Anderson first reports that the BuzzFeed

    articles at issue were viewed 8,988,432 times and that in order to generate the same number of

    views, BuzzFeed would pay $1.54 per view (so-called “CPC” or cost per click) or $13,859,960

    (8,988,432 times $1.54).139 He describes his calculation as the “value” of the “traffic” associated

    with the conduct at issue to BuzzFeed defined by the number of “page views.”140 He further

    described his calculations as reflecting the “cost” to BuzzFeed of “generating that level of traffic

    or what is the value of that level of traffic to BuzzFeed.”141 Mr. Anderson’s so-called benefit

    analysis does not represent any revenue or profit generated by BuzzFeed associated with the

    conduct at issue, if any, and the calculations themselves are unreliable for a number of reasons.

            A.       Anderson’s Benefit Analysis Does Not Represent Any Enhanced Revenues
                     Or Profits Earned By BuzzFeed

            60.      Mr. Anderson’s benefit analysis does not represent any increased revenues or

    profits earned by BuzzFeed associated with the publication of the Dossier and associated articles,

    if there were any such increased revenue and profits, including any alleged benefit to BuzzFeed

    directly attributable to the specific discussion of XBT or Webzilla (or Mr. Gubarev) in the

    Dossier. He testified that his benefit analysis “didn’t look at revenue earned by BuzzFeed.”142


    138
        Anderson Second Report, at pp. 12-15.
    139
        Id.
    140
        Anderson Dep. Tr. at 177 and 185-186.
    141
        Id., at 178.
    142
        Id., at 176-177.

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    In this regard, it should be emphasized that, after first asserting at his deposition that it did, Mr.

    Anderson subsequently rejected labelling his calculation of alleged benefits to BuzzFeed as

    representative of any unjust enrichment enjoyed by BuzzFeed associated with the conduct at

    issue.143 In fact, Mr. Anderson was not willing at his deposition to label his calculation of

    alleged benefits to BuzzFeed as any form of damages.144

             B.       Anderson Has Not Produced Evidence That The Number Of Views Used In
                      His Benefit Calculations Necessarily Include Individuals Actually Reviewing
                      The Dossier (Including Reference To XBT)

             61.      At his deposition, when first describing the methodology he employed when

    generating his benefit calculation, Mr. Anderson explicitly explained that the foundation of his

    analysis was the “assumption” that when each of the purported almost nine million times the

    relevant BuzzFeed articles were viewed, that each page view included a specific review of the

    Dossier itself (“my assumption is that all of those page views viewed the dossier”) and that he

    “assumed” that when the Dossier was reviewed the content of the Dossier that relates to XBT

    also was reviewed (“I assume they read the entire dossier”). 145 Mr. Anderson, however, was

    unable at his deposition to point to evidence that would support these two assumptions that he

    specifically testified were essential to his opinion concerning alleged benefits enjoyed by

    BuzzFeed attributable to the conduct at issue.146

             62.      For example, Mr. Anderson claimed that he asked that BuzzFeed (through

    plaintiffs’ counsel) produce data reflecting the number of times the Dossier itself was viewed



    143
        Id., at 190 and 215-216. Mr. Anderson did discuss at his deposition that if the BuzzFeed website gained more
    views, BuzzFeed might be able to “later monetize” that enhanced traffic in the “future” but provides no other detail
    or calculations with respect to this claim. (Id., at 184-186.)
    144
        Id., at 210 and 214-215 (“I don’t know that” when asked if plaintiffs are going to argue that “BuzzFeed should
    give that $14 million to them”).
    145
        Id., at 192-193, 200, 207, and 220.
    146
        Id.

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    (“we asked for how many people viewed the dossier and the article” and BuzzFeed was “to

    provide the viewership of the articles and the dossier”) and he “assumed” that data he relied on

    to reflect his calculation of views actually represented the number of times the entire Dossier

    itself was specifically reviewed, including a specific discussion related to XBT (“I assume they

    read the entire dossier”).147 But Mr. Anderson did not refer to any specific evidence in his

    reports or his deposition that would support his assumption that the data he reviewed that was

    produced by BuzzFeed actually reflected the number of times the Dossier itself was reviewed or

    whether even if some of the readers reflected in BuzzFeed’s data reviewed any portion of the

    Dossier, what they read included references to XBT at the end of the document.148 Mr.

    Anderson was not able to provide evidence that individuals that “clicked” on the BuzzFeed

    articles actually read the Dossier itself, or if some did, which portions of it they read.149                Mr.

    Anderson also testified that if his two assumptions were not accurate, then he would here to

    “reassess” his analysis and “adjust my analysis accordingly.”150

             63.      After initially providing this testimony at his deposition, Mr. Anderson offered a

    different theory to support his benefit analysis later on at his deposition. He testified that he

    included in his benefit analysis any view “regardless of whether they read all, part, or none of the


    147
        Id., at 193-194, 200, and 219-220.
    148
        Id. With respect to this issue, I did review certain requests for documents submitted by plaintiffs to BuzzFeed but
    they did not, to the best of my understanding, represent a request for information that reflected the number of times
    the Dossier itself was reviewed. (Defendant BuzzFeed, Inc.’s Response To Plaintiffs’ Third Request For Production
    Of Documents And Things, dated February 26, 2018, Including Request Number 74 through 81.) Moreover, with
    respect to this issue, I spoke with Nick Hardy, a Senior Business Analyst at BuzzFeed, who was familiar with the
    BuzzFeed page view data relied upon by Mr. Anderson for his view counts. Mr. Hardy told me that the BuzzFeed
    data only reflected the number of times that a relative article was clicked upon. The count does not, however,
    provide any information about what was actually read by the individual clicking on a relevant article. It would not,
    for example, provide any information on whether the Dossier was actually read by the individual clicking on the
    article.
    149
        Anderson Dep. Tr. at 192-200. In this regard, I noted that Mr. Anderson assumed that a reader of a so-called
    “Follow-Up” article “clicked through to or went down to where it said BuzzFeed published the dossier.” (Anderson
    Dep. Tr. at 207.)
    150
        Id. at 197 and 203.

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    entire dossier.”151 In consideration of this issue, I noted that Mr. Anderson, according to his

    testimony, included views that occurred after XBT’s names had been removed from the Dossier

    in his tabulation of views in his benefit calculations.152 Mr. Anderson testified, in fact, that he

    counted in his calculations any page views of the identified articles “irrespective” of whether

    plaintiffs were actually mentioned.153 He also admitted that he would have included in his

    calculations any time that someone clicked on one of the BuzzFeed articles but never actually

    read the Dossier at all, or any of its references to XBT.154

            64.      In other words, Mr. Anderson is now advancing a claim of a benefit to BuzzFeed

    measured by so-called views even if individuals represented by such views did not actually read

    the Dossier itself or any reference to XBT. In considering the relevance of this theory, I noted

    that in their Complaint, plaintiffs claim that the allegedly offensive conduct at issue here was the

    specific mention of XBT in the Dossier.155 It is not obvious how Mr. Anderson’s calculations

    reliably measure how BuzzFeed benefited from the specific conduct at issue here – the specific

    mention of XBT in the Dossier – if someone never read about XBT in the Dossier or read the

    Dossier after references to XBT had been removed.

            C.       Anderson’s Count Of Views Can Include Individuals Already On The
                     BuzzFeed Website And Regular Readers Of The Website

            65.      In evaluating Mr. Anderson’s calculation of views and alleged benefits enjoyed

    by BuzzFeed, I also noted that Mr. Anderson included in his count of views, according to his

    testimony, over 1.5 million individuals that were already on the BuzzFeed website (including




    151
        Id., at 232-233.
    152
        Id., at 221-223.
    153
        Id., at 224-225.
    154
        Id., at 232-233.
    155
        Complaint For Damages, dated February 3, 2017, at ¶s 2 and 32.

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    people accessing the BuzzFeed app) when they clicked on one of the relevant articles.156 In fact,

    Mr. Anderson admitted that he did not know how many individuals included in his calculation of

    views may have visited the BuzzFeed website previously or were regular readers of the

    BuzzFeed website.157 Again, Mr. Anderson does not adequately explain why BuzzFeed would

    pay these individuals to visit the BuzzFeed website. In this regard, Mr. Anderson testified that if

    he knew this information he “would do a different analysis.”158

            66.      Based on my understanding of Mr. Anderson’s count of views included in his

    calculation, it also is possible that the same individual could have read each of the relevant

    BuzzFeed articles and Mr. Anderson would count each of these instances as a separate view.159

    Similarly, as I understand his methodology, he would count as a separate view one person

    reading the same article multiple times.160 Again, it is not obvious why BuzzFeed would pay

    multiple times to have the same individual read each of the relevant articles or, after having read

    one of the relevant articles, BuzzFeed would pay to have that person read the same article again.




    156
        Anderson Dep. Tr. at 234-235; and Anderson Dep. Ex. 13. During my conversation with Mr. Hardy at
    BuzzFeed, he informed me that the column heading labeled as “buzzfeed_web” on Anderson Deposition Exhibit 13
    and Anderson Second Report Document Number 76, the source for Mr. Anderson’s count of views, represented
    individuals clicking on a relevant article who was already on the BuzzFeed website and that those page views under
    the heading “buzzfeed_app” represented individuals that clicked on a relevant article that were already on the
    BuzzFeed app. I noted in this regard, that Mr. Anderson apparently argued that a potential new follower of
    BuzzFeed was of “exponentially more value” to BuzzFeed. (Id., at 235-236.) This argument would appear to
    suggest that a current user was of less value to BuzzFeed. Such considerations are not reflected in Mr. Anderson’s
    calculations.
    157
        Anderson Dep. Tr. at 235-236
    158
        Id.
    159
        See Id., at 225-226.
    160
        During my conversation with Mr. Hardy, with BuzzFeed, he informed me that the number of page views that are
    included in the data relied on by Mr. Anderson would include as separate page views an individual clicking on the
    same article multiple times.

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            D.       Anderson’s $1.54 Calculation Does Not Represent What BuzzFeed Pays for
                     Digital Marketing

            67.      Mr. Anderson multiplies his number of views (8,988,432) times $1.54 to arrive at

    his benefit calculation of $13,859,960.161 Mr. Anderson claims that this figure represents the

    “cost to generate an equivalent amount of traffic via a targeted digital marketing campaign.”162

    To generate his $1.54 estimate, as described by Mr. Anderson, he first, based on data generated

    by a third party company, Semrush, identified the “top 100 keywords that generated traffic to

    BuzzFeed in January 2017.”163 According to Mr. Anderson, these keywords represent “words or

    phrases which, when typed into a search engine,” such as Google, “generate traffic to a

    website.”164 Mr. Anderson further explains that in “addition to reporting the percentage of user

    traffic generated from each keyword, Semrush reports the average cost to use each keyword to

    drive traffic” and that the “amount a company or website pays when someone clicks on an ad

    displayed amongst the search results” is called the “cost per click” or “CPC.”165 He further

    explained that using the “January 2017 CPC for each of the top 100 keywords, as well as the

    estimated percentage of traffic driven to BuzzFeed’s website for each of these keywords, [he]

    calculated a weighted average CPC for BuzzFeed’s top 100 keywords of $1.54.”166 Mr.

    Anderson seems to argue that BuzzFeed was able to avoid costs when generating views to its

    website as a result of the conduct at issue.167

            68.      However, based on my understanding of the data relied upon by Mr. Anderson

    and Mr. Anderson’s description of his analysis, his calculation does not represent what BuzzFeed


    161
        Anderson Second Report, at pp. 12-14.
    162
        Id.
    163
        Id.
    164
        Id.
    165
        Id.
    166
        Id.
    167
        See Anderson Dep. Tr. at 179 and 186-187.

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    actually pays to generate traffic to its website. In other words, he has not reliably measured what

    BuzzFeed would have paid to generate the views that are the focus of his analysis. Rather, his

    calculations reflect what other third parties paid in January 2017 as measured by Semrush when

    an advertisement is placed on a search engine like Google, when a certain keyword is searched

    by an individual, and when that relevant advertisement is actually clicked.168 Mr. Anderson

    represents that his calculation reflected the cost per click for the “top 100 keywords that

    generated traffic to BuzzFeed in January 2017” and the weighted cost per click for each of these

    100 keywords.169 But the CPC calculated by Mr. Anderson, as I understand his analysis, is not

    being paid by BuzzFeed to generate traffic to its website. The CPC is being paid by third parties

    when the advertisement they placed on the search engines are clicked upon.

            69.      For example, Mr. Anderson’s calculations reflect a cost per click of $2.50 when

    the keyword “BuzzFeed” is searched.170 But BuzzFeed, as I understand Mr. Anderson’s

    analysis, is not paying Google $2.50, for example, each time an individual searches the word

    BuzzFeed. Rather, it is third parties that are paying the search engine the $2.50 during July 2017

    (as calculated by Semrush) when the term BuzzFeed is searched and when searched, an

    advertisement is generated on the search engine associated with the third party and that

    advertisement is clicked. As Mr. Anderson admitted, BuzzFeed would not pay $2.50 per click

    (“I’m not saying they would”) for individuals who are directly searching the term BuzzFeed.171




    168
        At his deposition, when discussing what his measurement of cost represented, Mr. Anderson described so-called
    “higher-placed links.” (Anderson Dep. Tr. at 179-183.) As I understand Mr. Anderson’s analysis, his reference to
    so-called “higher-placed links” refers to “higher-placed links” that represent an advertisement. According to his
    report, the cost per click he is measuring is the “amount a company or website pays when someone clicks on an ad
    displayed amongst the search results.” (Anderson Second Report, at p. 14.)
    169
        Anderson Second Report, at pp. 12-14.
    170
        Anderson Dep. Tr. at 245-246; Anderson Dep. Ex. 14 at p. 7; and Anderson Second Report, at Exhibit 12.
    171
        Anderson Dep. Tr. at 245-246.

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             70.      Mr. Anderson has not established, however, that what third parties pay for such

    advertisements when certain keywords are searched is necessarily representative of what

    BuzzFeed would pay to generate traffic to its website. In fact, as best I understand Mr.

    Anderson’s analysis, the use of the keywords that are involved in his calculation of the $1.54

    generate traffic to the BuzzFeed website without BuzzFeed having to pay anything to generate

    this traffic through the use of advertisements. Nor has Mr. Anderson presented any reliable

    evidence that BuzzFeed would ever use the type of “targeted digital marketing campaign” to

    generate traffic to its website that is the focus of Mr. Anderson’s calculations.172

             71.      I also noted that Mr. Anderson did not appear to understand BuzzFeed’s business

    model for generating advertising revenue when the Dossier was published. At the time the

    Dossier was published, my research indicates that BuzzFeed generated advertising revenue by

    using so-called “native advertising,” where a firm’s product would be mentioned in content

    published on the BuzzFeed website.173 In return for publishing a native advertisement, my

    research indicates that BuzzFeed would charge a client a set fee per story.174 Mr. Anderson did

    not appear to even know what native advertising was.175 I understand that beginning in August

    2017, BuzzFeed generated advertising revenue for use of both banner advertisements and native

    advertising on its own website176 When estimating any purported benefit to BuzzFeed as a result

    of the conduct at issue, Mr. Anderson has not provided any evidence that BuzzFeed was able to



    172
        I noted in this regard that even if this figure represented what BuzzFeed would pay for such advertisements, that
    Mr. Anderson admitted that what a company pays for something “doesn’t necessarily have to be what something is
    worth.” (Id., at 245-246.)
    173
        Fergal Gallagher, “How Does BuzzFeed Make Money?,” Tech Times, March 6, 2015.
    174
        Id.
    175
        Anderson Dep. Tr. at 189-190.
    176
        Tanya Dua, “BuzzFeed Is Ditching Its Anti-Banner-Ad Stance To Better Cash In On Its Huge Audience,”
    Business Insider, August 28, 2017. I understand that BuzzFeed conducted some experiments with banner
    advertisements in 2016. (Id.)

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    increase such advertising revenue. I also noted in this regard that according to Mr. Anderson’s

    own analysis of Google Trends, search engine interest in the term “BuzzFeed” appeared

    temporary in nature.177

            72.      One final point with respect to Mr. Anderson’s $1.54 calculation. It is based on

    the weighted average cost of reported CPC’s for January 2017 as calculated by Semrush for only

    the top 100 relevant keywords according to Mr. Anderson’s Exhibit 12.178 According to this

    exhibit, which is based on the Semrush data, the amount of “traffic” (with traffic defined as

    individuals visiting the relevant website) represented by the top 100 keywords only represents

    about 20 percent of the total traffic reported.179 These data are reflected in Exhibit 18 and are

    based on the data included in Mr. Anderson’s Exhibit 12. A review of the backup provided by

    Mr. Anderson, however, indicates that 6.2 million separate keywords would generate a link to

    the BuzzFeed website and these 6.2 million keywords generated traffic of 19.5 million.180 The

    reported “traffic cost” for these 6.2 million keywords was $18 million, implying a cost of $0.92

    per click ($18 million divided by 19.5 million) not the $1.54 used by Mr. Anderson.181


    V.      CONCLUSION

            73.      In my opinion, for the reasons set forth above, Mr. Anderson has not generated a

    reliable estimate of any damages suffered by XBT as a result of the conduct at issue and his




    177
        Anderson Second Report, at p. 13. In this regard, I noted that an XBT executive authored on email on January 12
    2017, a few days after the Dossier was published by BuzzFeed, that concluded that the “first storm seems to have
    subsided” and that there were “no follow-up stories, other than 1 regional [story].” (See Steman Dep. Tr. at 65-66;
    and Steman Dep. Ex. 5B.)
    178
        Anderson Second Report, Exhibit 12.
    179
        Id.
    180
        Anderson Dep. Ex. 14, at p. 2; and Anderson Dep. Tr. at 240-241.
    181
        Anderson Dep. Ex. 14, at p. 2.

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